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                                                                                   2022 Sep-19 AM 07:02
                                                                                   U.S. DISTRICT COURT
                                                                                       N.D. OF ALABAMA


                     UNITED STATES DISTRICT COURT
                    NORTHERN DISTRICT OF ALABAMA
                          SOUTHERN DIVISION

DEMARCUS RODGERS,                       )
                                        )
      Plaintiff,                        )
                                        )
v.                                      ) Case No.: 2:22-cv-504 AMM
                                        )
KRAFT HEINZ FOODS                       )
COMPANY,                                )
                                        )
      Defendant.                        )

                           ORDER OF DISMISSAL

      The court, having been advised that a settlement has been reached, dismisses

this case without prejudice to reinstatement if any party represents to the court on or

before Monday, November 21, 2022, that final settlement documentation could not

be completed.

      DONE and ORDERED this 19th day of September, 2022.



                                     _________________________________
                                     ANNA M. MANASCO
                                     UNITED STATES DISTRICT JUDGE
